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iN THE UNITED sTATEs DisTRIcT COURT "j `“'/\“%\ 35
FOR THE WESTERN DISTRICT OF TENNESSEE 95 JU ' '
EASTERN DIVISION L 18 ,qH ,D_. ,9
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BETTYB M. COLE, `EQJ`€ (S"T P'STF‘?)LW
v a `Vl.-" .'\ _u ‘ .
‘ '. t_:,'*,;_[;'(“')'l‘b_arld
Plaimiff,
vs. NO. 1-05-1075-T/An

WAL-MART STORES EAST, LP,

Defendant.

 

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RULE i6(b) scHEDULiNG QRDER

 

Pursuant to the scheduling conference set by Written notice, the following dates are
established as the final dates for:

INITIAL DISCLOSURES (RULE 26(3)(1)): August 12, 2005

No later than 14 days after the date set for the Scheduling Ccnt`erence unless a later date

is authorized by the Ccul‘t due to special circumstances

 

JOINING PARTIES:

Fcr Plaintiff: September 29, 2005
For Defendant: October 28 2005
AMENDING PLEADINGS:

For Plaintiff: September 29, 2005
For Defendant: October 28 2005

 

COMPLETING ALL DISCOVERY: March 29, 2006

This document entered on the docket sheet fn compliance

with Hule 58 and/or 79 (3) FRCP on w

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(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS

ADMISSIONS: March 29 2006

 

(b) EXPERT DIsCLosURE (Rule 26(a)(2)):
(i) Plaintiff’ s Experts: Janual_'y 27, 2006
(ii) Defendant’s Experts: February 28, 2006

(iii) Supplementation under Rule 26(e): March 10 2006

 

(c) DEPOSITIONS OF EXPERTS: March 29 2006

 

FILING DISPOSITIVE MOTIONS: March 10 2006

 

FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

For Plaintiff: April 28, 2006
For Defendant: May 13, 2006

Parties shall have lO days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last two (2) days and is SET for JURY TRIAL on
June 12, 2006, at 9:30 a.m. A joint pretrial order is due on Friday, June 2, 2006. ln the event the
parties are unable to agree on a joint pretrial order, the parties must notify the Court at least ten
days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of diseovery. For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or

within 30 days of the default or service of the response, answer, or objection Which is the subject

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of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l )(A) and (a)(l.)(B), all
motions, except motions pursuant to FRCP l2, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to trial before the l\/lagistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from

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proceeding to trial.

PI-`h;-Jparties",riffe encouraged to engage in court-annexed attorney mediation or
private mediation on or before thc close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or

extended

IT IS SO ORDERED.

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<:_"</- /AW?'/N 644/5

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Q:tx,gza /jt 2095/
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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CV-01075 was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

Clinton .l. Simpson

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Circuit Court Clerk

Obion County Courthouse
Union City7 TN 38281

T. Verner Smith
112 N. Liberty
.lacl<son7 TN 38302

Honorable .l ames Todd
US DISTRICT COURT

